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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

   DEBRA FIALEK,
   an individual,                                      Case No.: 3:18-cv-00136-BJD-MCR

          Plaintiff,
   v.

   BELLSOUTHTELECOMMUNICATIONS, LLC
   d/b/a AT&T
   a foreign for-profit corporation,
   I.C. SYSTEM, INC.,
   a foreign for-profit corporation, and
   ENHANCED RECOVERY COMPANY, LLC,
   a foreign limited liability company,

         Defendants.
   ____________________________________________/

                     NOTICE OF DISMISSAL WITH PREJUDICE
             AS TO DEFENDANT ENHANCED RECOVERY COMPANY, LLC

          COMES NOW, Plaintiff, Debra Fialek, and Defendant, Enhanced Recovery

   Company, LLC, (hereinafter, “the Parties”), by and through undersigned counsel, pursuant to

   Federal Rules of Civil Procedure 41(a)(1)(i) and Middle District of Florida, Local Rule 3.08,

   files this Notice of Dismissal with Prejudice as to Defendant Enhanced Recovery Company,

   LLC, and states:

          The Parties have finalized the terms of and executed the confidential settlement

   agreement. By agreement, each side shall bear its own costs and attorneys’ fees.

          Dated: April 13, 2020

                                               Respectfully submitted,
                                               LEAVENLAW
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                                             /s/ Ian R. Leavengood
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 13, 2020, I filed a true and correct copy of the

   above and foregoing Notice of Dismissal with Prejudice as to Defendant, Enhanced Recovery

   Company, LLC via email and/or CM/ECF which will be served electronically to the following

   counsel of record:

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          ~and~

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                                             /s/ Ian R. Leavengood
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